Case 3:21-cv-06766-MAS-TJB Document19 _ Filed 09/11/24 Page 1 of 3 PagelD: 192

PHILIP R. SELLINGER

United States Attorney

DAVID V. SIMUNOVICH
Assistant United States Attorney
970 Broad Street, Suite 700
Newark, NJ 07102

Tel. (973) 645-2736
david.simunovich@usdoj.gov

BRIAN M. BOYNTON

Principal Deputy Assistant Attorney General
JAMIE ANN YAVELBERG
ALLISON CENDALI

JAYNA GENTI

Civil Division

Commercial Litigation Branch

P.O. Box 261, Ben Franklin Station
Washington, D.C. 20044
Telephone: (202) 305-3716
jayna.genti@usdo}j.gov

UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY

UNITED STATES OF AMERICA ex rel.
R & R LITIGATION, LLC, HON. MICHAEL A. SHIPP

Plaintiff Civil Action No. 21-6766 (MAS) (TJB)

FILED UNDER SEAL

Vv.

ALLIANCE HC 11, LLC, ez al.,

Defendants.

ORDER

The United States of America, by its attorney, Philip R. Sellinger, United

States Attorney for the District of New Jersey (David V. Simunovich, Assistant
Case 3:21-cv-06766-MAS-TJB Document19 _ Filed 09/11/24 Page 2 of 3 PagelD: 193

United States Attorney, appearing) having filed its Notice of Election to Decline
Intervention pursuant to 31 U.S.C. § 3730(b)(2)(A), the Court rules as follows:

ITIS on this__10th day of September , 2024;

ORDERED that only the Complaint, the United States’ Notice of Election to
Decline Intervention, and this Order be unsealed and served upon the Defendant by
the Relator. All other contents of the Court’s file in this matter (including, but not
limited to, any applications filed by the United States to administratively terminate
the case, oppositions filed by the United States in response to the Relator’s motions,
reply briefs, memoranda, and supporting documents) shall remain under seal and
not be made public or served upon the Defendant; and it further

ORDERED that the seal be lifted as to all other matters occurring in this
action after the date of this Order; and it is further

ORDERED that Relator may maintain the instant action in the name of the
United States; provided, however, that the action may be dismissed only if the
Court and the Attorney General of the United States give written consent to the
dismissal and their reasons for consenting; and it is further

ORDERED that pursuant to 31 U.S.C. § 3730(c)(8), all subsequent pleadings,
including supporting memoranda, filed in this action must be served upon the
United States; and it is further

ORDERED that the United States may order any deposition transcript or
intervene in this action, for good cause, at any time; and is further

ORDERED that all Orders of this Court in this action shall be sent to the
Case 3:21-cv-06766-MAS-TJB Document19_ Filed 09/11/24 Page 3 of 3 PagelD: 194

United States; and it is further
ORDERED that should either the Relator or the Defendant propose that this
action be dismissed, settled, or otherwise discontinued, they will solicit the written

consent of the United States before the Court rules or grants its approval.

HON. MICHAEL A. SHIPP
United States District Judge

Dated: Trenton, New Jersey
September 10 | 2024

